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               IN THE UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF MARYLAND
                       (NORTHERN DIVISION)

THE CITY OF ANNAPOLIS,                           )
MARYLAND,                                        )
                                                 )
                      Plaintiff,                 )
                                                 )     Case No. 1:19-cv-01162-GLR
       v.                                        )
                                                 )
PURDUE PHARMA L.P., et al.,                      )
                                                 )
                      Defendants.                )
                                                 )
                                                 )
                                                 )

                            ENTRY OF APPEARANCE FOR
                         DEFENDANT CARDINAL HEALTH, INC.

TO THE CLERK OF THIS COURT AND PARTIES OF RECORD:

       Please enter my appearance as Counsel for Defendant Cardinal Health, Inc. in the above-

captioned matter. I certify that I am admitted to practice in this court and am familiar with the

FEDERAL RULES OF CIVIL PROCEDURE, the FEDERAL RULES OF EVIDENCE, the FEDERAL RULES OF

APPELLATE PROCEDURE, and the LOCAL RULES of this Court.


 Date: May 8, 2019                                   /S /
                                                     William Alden McDaniel, Jr.
                                                     Fed. Bar No. 000571
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                                 CERTIFICATE OF SERVICE

               I HEREBY CERTIFY that on this 8th day of May, 2019, I directed that the

foregoing be e-filed with this Court’s electronic filing system and thereby served via the Court's

ECF filing system on all parties requiring electronic notification.



                                              /S /
                                              William Alden McDaniel, Jr.




DMEAST #37496876 v1                              2
